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UNITED STATES BANKRUPTCY CGURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

Www. ffmb. u.rcrmrts. gov
111 Re_: . Bl<, No. 3:18-bk-O7001-MGW

Gcot"t`rey Abel Blythe_, Cliapter 13

Deblor. OBJECTlONS TO P'ROPOSED
AMENDED CHAPTER 13 PLAN
AND CONFIRMATION THEREOF

Contirmatic;)n Hearing -

Date: 12/03/2013

'l`ime: 1:35 p.ni.

Plaee: US Bankruptcy Court
Courtroon‘i SA
801 N. Florida Ave.
Tainpa, l“`lorida

 

 

The Bank ot`l\lew Yorlt Mcllon_, F/K/A Tlie Banlr ol" New York as trustee for registered
l'lolders of CWABS, lnc., Asset-Baelced Certifieates, Series 200()-SP52, secured creditor in the
above~enlitled Bankruptcy casc_, its assignees and/or successors in interest, holds the junior licn
on the subject property generally described as 3326 S. Lockwood Ridge Rd., Sarasota., Florida
34239, and hereby submits the following objections to the confirmation of that certain Ainended
Chapter 13 Plan (the "Plan") proposed by Debtor:

M,E,W

”l`bc Sccurcd Creditor objects to the Debtor’s Cba.ptcr 13 Plan as the Plan calls tbr the
Debtor to sell the property. Thc Debtor has l"ailed to tile a lvlotion to Sell in order to seek court
approval or obtain consent from Carrington Mortgagc Serviccs, LLC as stated in the proposed

Pla.n. Secured Crcclitor objects to this treatment as thc loan matures in 2021 and should receive

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full payoff funds to satisfy its licn. Secured Crcditor requests that its entire claim be paid in full
or seek approval from Securcd Creditor for any amount paid that does not satisfy the claim.
ln addition, the Plan fails to provide adequate protection payments to the Secured
Creditor and states the Sceured Creditor is adequately protected by the proposed sale of the
property. 1-1owever, per thc value of the property stated in Debtors schedules there is not enough
equity to support the Debtor not makingl adequate protections payments
Secured Crcditor requests that if the property is not sold by Dccember 31, 2018 chtor
must amend the plan within 14 days to surrender the property and grant Secured Creditor in rem
and in personam reliel".
MU_§M
Any Chaptcr 13 Plan proposed by Debtor must provide for and eliminate the objections
specified above in order to be feasible and to provide adequate protection to this objecting
secured creditor lt is respectfully requested that confirmation of the Amcndcd Chapter 13 Plan
as proposed by Debtor, be denicd.
WHEREFORE, secured creditor prays as follows:
(1) That confirmation of the proposcd Chapter 13 Plan be denied.
(2) For attorneys' fees and costs incurred herein.

(3) For such other relief as this Court deems propcr.

Dated: 11 130 113 fs/Jav D. Passcr 912“7 D ,OW

Jay D. Fasscr, EscH FBl£~l 433634
Jay D. Passer, P,A.

Transworld Centcr

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1 HEREBY CERTIFY that a true and correct copy of the foregoing has bccn served electronically
or by regular U.S. Mail, postage prepaid, on:

Geoffrcy Abel Blythc

3326 S. Locltwood Ridge Road
Sarasota, Fl. 34239

Debtor

David Lampley

The Dellutri Law Group, PA
1436 Royal Palm Square Blvd.
Fort Mycrs_. FL 33919
Debtor’s Attorncy

Kell y Remick

Chaptcr 13 Standing Trustee
Post Oftice Box 6099

Sun City, FL 33571

Chapter 13 “[`rustcc

U .S. Trustee

Timberlake Anncx_, Suite 1200
501 E Polk Street

Tarnpa, FL 33602

Daled: jj }?,@j;g

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